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SOUTHERN DISTRICT OF NEW YORK DATE FILED: S//-/1 &
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WILLIAM ANDERSON, et al.,
17 Civ. 9625 (PAE)
Plaintiffs,
ORDER OF DISMISSAL
-V-
GOLDEN KRUST FRANCHISING, INC., et al.,
Defendants. ;
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PAUL A. ENGELMAYER, District Judge:

On March 5, 2018, the Court received a letter from plaintiffs’ counsel containing a
stipulation of voluntary dismissal with respect to plaintiff William Anderson. See Dkt. 36. The
letter also indicated that plaintiffs’ counsel “have not been able to prosecute this case for Plaintiff
Sixto Ramirez because of his failure to participate in the lawsuit,” and therefore sought to
withdraw. Id.

On March 6, 2018, the Court issued an Order granting the motion to withdraw and
directing Ramirez to show cause by May 7, 2018 why this action should not be dismissed for
failure to prosecute under Federal Rule of Civil Procedure 41. See Dkt. 38. The Court directed
plaintiffs’ counsel to serve the Order on Ramirez at his last known address, and notified Ramirez
that his failure to respond would result in dismissal of this case. See id. On March 12, 2018,
plaintiff’s counsel served Ramirez with the Court’s March 6 Order. See Dkt. 39,

Ramirez has not responded. Accordingly, under Federal Rule of Civil Procedure 41(b)
and the Court’s inherent power, see Link v. Wabash R.R. Co., 370 U.S. 626, 630-32 (1962), the

Court hereby dismisses this case, without prejudice, for the plaintiff's failure to prosecute.
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The Clerk of Court is respectfully directed to close this case.

Punt A. é cpl

Paul A. Engelmayer
United States District sal

SO ORDERED.

Dated: May 14, 2018
New York, New York
